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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                  4:04CR00141-10-JM

J.C. COLLINS

                                            ORDER

       For the reasons set out below, Defendant’s Motion for Compassionate Release (Doc.

No. 941) is DENIED.

I.     BACKGROUND

       On February 2, 2006, a jury found Defendant guilty of conspiracy to possess with intent

to distribute methamphetamine and several counts of money laundering.1 On August 22, 2006,

he was sentenced to the statutory, mandatory minimum of life in prison.2

II.    DISCUSSION

       Although the First Step Act made the procedural hurdles for compassionate release a bit

less strenuous, a defendant still must establish “extraordinary and compelling reasons” and that

release would not be contrary to the 18 U.S.C. § 3553(a) factors.3

       Before a Defendant may seek compassionate release under the First Step Act, he must

first make the request with the Bureau of Prisons and exhaust his administrative remedies there.4


       1
           Doc. No. 671.
       2
           Doc. Nos. 731, 732.
       3
        18 U.S.C. § 3553(a)(2) mandates that any sentence imposed reflect the seriousness of the
offense, afford adequate deterrence, protect the public, and provide the defendant with
appropriate rehabilitation.
       4
       See United States v. Smith, Case No. 4:95-CR-00019-LPR-4, Doc. No. 440 (E.D. Ark.
May 14, 2020) (no jurisdiction when defendant fails to exhaust administrative remedies).

                                                1
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Based on the documents provided, Defendant requested relief from the warden and has exhausted

his administrative remedy. Accordingly, the issue is properly before the Court.

       Defendant admits that he “does not assert any medical claims, age or family

circumstances” that warrant release, but asserts that he is entitled to compassionate release under

the “other reasons category.”5 Essentially, Defendant argues that his post-conviction

rehabilitation warrants a “downward variance from the sentencing guideline range of 46” and

requests a sentence of time served.6 However, post-conviction rehabilitation is listed in neither

the statute or the guidelines as an “extraordinary and compelling” reason for compassionate

release. In fact, the Guidelines specifically set out that “[p]ursuant to 28 U.S.C. § 994(t),

rehabilitation of the defendant is not, by itself, an extraordinary and compelling reason for

purposes of this policy statement.”7

       Even if Defendant could establish extraordinary and compelling reasons, his request for

relief must be denied because of the § 3553(a) factors – specifically, protecting the public from

additional crimes by Defendant and reflecting the severity of the offense.

       Defendant has five prior convictions, which include possession of marijuana for sale and

battery resulting in serious bodily injury. In fact, he was under supervision for a prior conviction

when he committed the instant offense.

       The severity of the instant offense also must be considered. For over ten years, Defendant

was the leader of a loosely-structured drug tracking network that transported multi-pound

quantities of methamphetamine from California and distributed it in Arkansas. At least twenty-



       5
           Doc. No. 941.
       6
           Id.
       7
           U.S. SENTENCING GUIDELINES MANUAL § 1B1.13, Application Note 3.

                                                  2
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two individuals were involved in the network and all claimed that Defendant was the leader.

During the course of the conspiracy, over $800,000 was shipped or wired from just one associate

to Defendant. A DEA agent also testified that Defendant was known to threaten to beat or kill

people who owed him money. In fact, Defendant threatened one witness before trial in attempt

to influence her testimony. Additionally, after he was convicted he twice mouthed “You’re

dead” to an ATF agent. Ultimately, Defendant was held responsible for over 15 kilograms of

marijuana.8

                                       CONCLUSION

       For the reasons stated, Defendant’s Motion for Compassionate Release (Doc. No. 941) is

DENIED.

       IT IS SO ORDERED, this 20th day of October, 2020.




                                                   UNITED STATES DISTRICT JUDGE




       8
         Defendant had a base offense level of 38 because he was responsible for “more than 15
kilograms of methamphetamine.” This was the highest level amount at the time, and the Court
has not reviewed the transcript to see the actual total amount. Defendant also received
enhancements for laundering money derived from unlawful activity (+2), organizer in a criminal
activity (+4), and obstruction of justice (+2) for a total offense level of 46.

                                               3
